        Case 5:21-cv-04479-MAK Document 136 Filed 02/12/24 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LEON DRUMMOND, LEE WILLIAMS,
 and YESHONDA DRIGGINS, on behalf of
 themselves and all others similarly
 situated,

        Plaintiffs,


                -v-                                   Case No. 5:21-cv-04479-MAK

 PROGRESSIVE SPECIALTY
 INSURANCE COMPANY and
 PROGRESSIVE ADVANCED
 INSURANCE COMPANY,

        Defendants.

            NOTICE REGARDING DISPOSITION OF RULE 23(F) PETITION


   Defendants Progressive Specialty Insurance Company and Progressive Advanced Insurance

Company (together “Progressive”) file this notice, pursuant to the Court’s December 7, 2023

Order, regarding the disposition of Progressive’s Rule 23(f) petition to the Third Circuit Court of

Appeals. Progressive informs the Court as follows:

   1. On February 8, 2024, the Court of Appeals granted Progressive’s petition. On February 9,

       2024, Progressive paid the notice of appeal docketing and filing fee. The appeal is awaiting

       docketing.

   2. Progressive proposes that the case remain in this Court’s suspense docket until the appeal

       is finally resolved and the Court of Appeals issues its mandate.

   3. Within three days of the issuance of the mandate from the Court of Appeals, Progressive

       proposes that the parties file a notice with their respective proposals for specific steps

       towards a final judgment.
        Case 5:21-cv-04479-MAK Document 136 Filed 02/12/24 Page 2 of 3




   4. Progressive has conferred with Plaintiffs, who do not oppose Progressive’s proposal.


Dated: February 12, 2024.                   Respectfully submitted,

                                            /s/ Jeffrey S. Cashdan
                                            Jeffrey S. Cashdan (admitted pro hac vice)
                                            Zachary A. McEntyre (admitted pro hac vice)
                                            J. Matthew Brigman (admitted pro hac vice)
                                            Allison Hill White (admitted pro hac vice)
                                            Erin M. Munger (admitted pro hac vice)
                                            KING & SPALDING LLP
                                            1180 Peachtree Street, N.E., Suite 1600
                                            Atlanta, Georgia 30309
                                            Telephone: (404) 572-4600
                                            Facsimile: (404) 572-5100
                                            jcashdan@kslaw.com
                                            zmcentyre@kslaw.com
                                            mbrigman@kslaw.com
                                            awhite@kslaw.com
                                            emunger@kslaw.com

                                            Julia C. Barrett (admitted pro hac vice)
                                            KING & SPALDING LLP
                                            500 W. 2nd Street, Suite 1800
                                            Austin, Texas 78701
                                            Telephone: (512) 457-2000
                                            Facsimile: (512) 457-2100
                                            jbarrett@kslaw.com

                                            /s/ Lyle D. Washowich
                                            Robert E. Dapper, Jr. (Pa. I.D. # 46378)
                                            Lyle D. Washowich (Pa. I.D. #84348)
                                            Daniel Inadomi (Pa. I.D. #312984)
                                            BURNS WHITE LLC
                                            Burns White Center, 48 26th Street
                                            Pittsburgh, Pennsylvania 15222
                                            Telephone: (412) 995-3000
                                            Facsimile: (412) 995-3300
                                            redapper@burnswhite.com
                                            ldwashowich@burnswhite.com

                                            Counsel for Defendants
        Case 5:21-cv-04479-MAK Document 136 Filed 02/12/24 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2024, I electronically filed the foregoing with the

Clerk of Court via the CM/ECF system, which will automatically send notice of such filing to all

counsel of record.

                                             /s/ Jeffrey S. Cashdan
                                             Jeffrey S. Cashdan

                                             Counsel for Defendants
